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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                               EAST SAINT LOUIS DIVISION

ANGEL GONZALEZ,                                 )
                                                )
               Plaintiff,                       )
                                                )
v.                                              )        No. 3:11-cv-00170-DGW
                                                )
DR. FEINERMAN, et al.,                          )
                                                )
               Defendants.                      )
                                                )

                            MOTION FOR AN EXTENSION OF TIME

         COMES NOW the Defendant, ANGEL GONZALEZ, by and through his attorney,

Matthew J. Daher, and moves pursuant to Rule 6(b) of the Federal Rules of Civil Procedure for

an extension of time, up to and including June 29, 2012, in which to file his Response to

Defendant, Dr. M. Fahim’s, Motion for Summary Judgment. In support of this motion, Plaintiff

states as follows:

         1.    Plaintiff was unable to coordinate a date and time to speak with the undersigned

until May of 2012.

         2.    Despite his best efforts, the undersigned is in need of additional time to review the

facts surrounding Plaintiff’s case, and also to obtain the necessary paperwork needed to respond

to Dr. Fahim’s Motion for Summary Judgment.

         3.    Plaintiff requests an extension of time, up to and including June 29, 2012, in

which to respond to Defendant, Dr. M. Fahim’s, Motion for Summary Judgment.

         4.    This motion is not made for purposes of undue delay, but is made in good faith

for the purpose of preparing an adequate response and will not prejudice the Defendant, Dr. M.

Fahim.

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       WHEREFORE, for the above and foregoing reasons, Plaintiff respectfully requests this

Honorable Court grant his Motion for an Extension of Time, up to and including June 29, 2012,

to file a Response to Defendant, Dr. M. Fahim’s, Motion for Summary Judgment. Plaintiff

further respectfully requests that this Court remove the Evidentiary Hearing currently scheduled

on the May 31, 2012, docket to a date further out in the future.



                                                             Respectfully submitted,

                                                             Brown & Brown, LLP

                                                             /s/ Matthew J. Daher
                                                             Counsel for Plaintiff
                                                             ANGEL GONZALEZ

Matthew J. Daher – #62598 (MO)
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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

ANGEL GONZALEZ,                                 )
                                                )
              Plaintiff,                        )
                                                )
v.                                              )        No. 3:11-cv-00170-DGW
                                                )
DR. FEINERMAN, et al.,                          )
                                                )
               Defendants.                      )

                                CERTIFICATE OF SERVICE

       I hereby certify that on May 17, 2012, I electronically filed my Motion for an Extension
of Time with the Clerk of the Court using the CM/ECF system, which will send notification of
the same to the following:

Melissa A. Jennings, Esq.                            Timothy P. Dugan, Esq.
mjennings@atg.state.il.us                            tdugan@sandbergphoenix.com

and I hereby certify that on the same date, I mailed by United States Postal Service, the described
document to the following non-registered participant:

Angel Gonzalez, #K81302
Menard Correctional Center
711 Kaskaskia Street
P.O. Box 1000
Menard, IL 62259


                                                     Respectfully submitted,

                                                     /s/ Matthew J. Daher
                                                     Matthew J. Daher, #62598 (MO)
                                                     Attorney for Plaintiff, ANGEL GONZALEZ
                                                     BROWN & BROWN, LLP
                                                     One Memorial Drive
                                                     11th Floor
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